Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 1 of 17 PageID# 6076



                         IN THE UNITED STATES DISTRICT COBRS-
                        FOR THE EASTERN DISTRICT OF VIRGINIA                          FILED
                                        Norfolk Division

                                                                                   nov 12 ::o5

  WESLEY      DOYLE    PAYNE,
                                                                               CLERK U S. DISTRICT COUHT
                                                                                    ' NOHrOlXVA——

                    Plaintiff,



  v.                                                                   Civil    No.    2:08cvll9




  WYETH       PHARMACEUTICALS,         INC.,



                    Defendant.


                                        OPINION AND          ORDER


          Plaintiff,          Wesley         Doyle     Payne     ("Payne"),        brings       this

  negligence         action     against      Defendant,       Wyeth   Pharmaceuticals,          Inc.

   ("Wyeth Pharmaceuticals"),                 alleging that Wyeth Pharmaceuticals                  is

  vicariously         liable     for    an   automobile       accident    in   which    Payne     was

  injured.          Plaintiff     seeks        $25,000,000      in    compensatory        damages.

  Presently         before    the      Court    is   Wyeth     Pharmaceuticals'         Motion      In

  Limine To Exclude Plaintiff's Medical Bills.                         After considering the

  motion,        counsel's       accompanying          memoranda,1       and    oral     arguments

  before the Court on October 29,                    2008,    and for the reasons set forth

  herein,       the Court GRANTS Wyeth Pharmaceuticals' Motion In Limine to




          1   The    accompanying        memoranda       include      Wyeth     Pharmaceuticals
   Inc's  Memorandum   In  Support  of Motion   in   Limine to   Exclude
   Plaintiff's  Medical   Bills   ("Def.'s Mem.   Supp."),  Plaintiff's
   Memorandum in Opposition To Wyeth Pharmaceutical's Motion In Limine
   To  Exclude   Medical   Bills   ("PL's  Mem.    Opp'n"),  and   Wyeth
   Pharmaceuticals Inc's Reply In Support Of Its Motion In Limine to
   Exclude Plaintiff's Medical Bills ("Def.'s Reply").
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 2 of 17 PageID# 6077



  Exclude      Plaintiff's Medical                     Bills.

                                 I.       Facts   and Procedural History


          Payne's         Complaint             alleges     that        on    or     about     January          8,   2007,


  Wyeth        Pharmaceuticals'                    employee,                 Michael           Charles           Romano,


  negligently drove his automobile into Payne's automobile.                                                    Compl.    n


  5-6.    Payne allegedly was seriously injured,                                     suffering,           among other

  things,       a    severe           brain       injury       that          has      left      him       permanently


  impaired.          Compl.           f    8.     Payne       has       received          treatment        since        the

  accident       from various medical providers.                                   See   PL's Mem.             Opp'n Ex.


  4   (listing various medical bills incurred by Payne).                                              Payne brought


  this    diversity         action          against         Wyeth        Pharmaceuticals              on   March        10,


  2008,    seeking compensatory damages.


          On    October          8,       2007,       Payne    filed           for    Chapter         7    bankruptcy


  protection         in    the    United          States       Bankruptcy             Court     for       the    Eastern


  District          of    Virginia.                   See     In    re        Wesley       Doyle          Payne.        No.


  07-72297-FJS            (Bankr.          E.D.    Va.).           Payne       filed       a   set    of       schedules


  with    the       bankruptcy             court       detailing          his       assets      and       liabilities


  pursuant          to     11     U.S.C.          §     521(a) (1) (B) (1) .2                   In     Schedule          F,

  "CREDITORS              HOLDING               UNSECURED           NONPRIORITY                CLAIMS,"              Payne


  specifically lists his pre-bankruptcy petition medical bills.                                                         See


  Def.'s Mem.            Supp.    Ex.       B.     Schedule         F    lists       $19,736.00           as    "medical




          2 The     Court        notes          that    Payne       filed       an       amended      petition          for
  bankruptcy,            which    included an amended set of                             schedules,        on January
  11,    2008.       All    references             herein          are    to    the      amended      petition          and
  amended      schedules.
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 3 of 17 PageID# 6078



  bills."3       Id.    Wyeth Pharmaceutical alleges that Payne only listed

  some,    but    not   all,        of    his    pre-bankruptcy petition medical                       bills.

  See     Def.'s   Mem.     Supp.          2.         Specifically,            Wyeth    Pharmaceuticals

  alleges    that       Payne       did        not    list    $21,483.87        in     medical    expenses


  incurred       prior     to       filing           the    bankruptcy         petition.         Id.         The

  bankruptcy       court    discharged                Payne's      debt   on    April    7,    2008,    In    re


  Weslev Dovle Pavne.               No.    07-72297-FJS            (Bankr.     E.D.    Va.),    almost one

  month    after   the     instant         lawsuit was             filed.


          Payne    intends          to    introduce          his    medical      bills—including             the

  medical    bills       discharged              in       bankruptcy—into        evidence        at    trial.

  PL's     Mem.    Opp'n       2.         On    October       3,     2008,     Wyeth    Pharmaceuticals

  moved    this    Court    in       limine          to    exclude    Payne's     medical       bills    that

  were     discharged          in        bankruptcy          because,        Wyeth      Pharmaceuticals

  argues,     Virginia's             collateral             source     rule      does     not    apply        to

  bankruptcy discharges.                   Wyeth Pharmaceuticals also argues that all

  of    Payne's medical bills                  should be       inadmissible           to prove pain and


  suffering damages             because          the       medical    bills     are     not   relevant        to

  prove pain and suffering.                      Payne argues,            in turn,      that Virginia's

  collateral       source       rule           applies       to    bankruptcy         discharges,        and,




          3 Payne argues that the amounts of certain entries in Schedule
  F do not accurately reflect the correct amount of discharged debt
  either because Payne paid part of the medical bills prior to
  discharge or because the amount in the actual medical bills was
  different from the amount listed in the schedule.  See PL's Mem.
  Opp'n 2-3 nn. 3-9.  This distinction, however, is not relevant to
  the    disposition      of    the       instant motion.
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 4 of 17 PageID# 6079



  therefore,           the Court should deny Wyeth Pharmaceuticals1                    motion.4

                                           II.   DISCUSSION


                        A.   ADMISSIBILITY TO PROVE           SPECIAL    DAMAGES


              Wyeth Pharmaceuticals argues that Payne's medical bills that

  were discharged in bankruptcy cannot be introduced into evidence to

  prove        special       damages   because      Virginia's       collateral    source    rule

  does not apply to bankruptcy discharges.                           Payne argues,      in turn,

  that the collateral source rule applies to bankruptcy discharges.

                i-    The Collateral Source Rule as Virginia State Law

           Generally,         federal     courts    sitting     in   diversity     apply    state

  substantive law and federal procedural law.                           See,   e.g..   Erie R.R.

  v. Tompkins.          304 U.S.   64     (1938); Hottle v. Beech Aircraft Corp..                47

  F.3d         106,     109-10     (4th     Cir.     1995).          However,     '"there       are

  circumstances in which a question of admissibility of evidence is

  so intertwined with a state substantive rule that the state rule .

  .   .   will be       followed in order to give             full effect to the state's

  substantive policy.1"                Hottle,     47 F.3d at 110      (quoting DiAntonio v.

  Northampton-Accomack Memorial Hosp.,                    628    F.2d 287,      291    (4th Cir.

  1980).         "The application of the collateral source doctrine,                        while

  an evidentiary rule,             is closely tied to state substantive policy,

  and thus is governed here by Virginia law."                         Mitchell v.      Hayes.   72



          4    Payne further argues that the Court should enter an order
  prohibiting Wyeth Pharmaceuticals from mentioning any matters set
  forth  in the   instant memoranda because   discharging debt   in
  bankruptcy is irrelevant to the instant case.      The Court has
  disposed of that issue in a separate ruling.
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 5 of 17 PageID# 6080



  F.    Supp.       2d 635,        636-37      (W.D. Va.         1999)      (citing Hottle.         47 F.3d at

   110) .


            The Supreme Court of Virginia has expressly declined to rule

  upon      the       issue    of    whether         the    collateral          source     rule    applies       to

  allow      the       introduction            of    evidence          of   medical       bills    when     those

  medical         bills       have       been     discharged           in   bankruptcy.            Barklev       v.

  Wallace,            595     S.E.2d       271,      273        (Va.     2004)        ("Thus,     we    are     not

  presented with and do not decide the question whether evidence of

  medical bills is admissible to recover the amount charged for such

  treatment            when    a    plaintiff             has    obtained         a    discharge       of   those

  medical         bills       in    bankruptcy             proceedings.").                Virginia       Circuit

  Courts have split on the                        issue.        A substantial majority of these

  courts have held that the collateral source rule does not apply to

  medical bills that have been discharged in bankruptcy.                                           See,     e.g..

  Choice       v.     Kruse.       57    Va.    Cir.       13   (Va.     Cir.     Ct.    2001);    Daniels       v.

  Owens,       54 Va. Cir. 284              (Va. Cir. Ct. 2000); Moraanthal v.                         Piper.    38

  Va.    Cir.       354     (Va.    Cir.    Ct.     1996);       Walker v.        Long.    57 Va.      Cir.     419

  (Va.    Cir.        Ct.   1993).         Only one case has held to the contrary.                              See

  Dodd v.       Lana.        71 Va.      Cir.       235    (Va.    Cir.     Ct.       2006).     The issue       is

  also one of first impression in the Fourth Circuit.5

          As      a    federal          court       sitting       in    diversity,         the    Court       must



          5 One district court in this Circuit has held that Virginia's
  collateral source rule applies to debts discharged in bankruptcy.
  See Hall v. Wal-Mart Stores, Inc.. No. 4:05cv50 (W.D. Va. Apr. 25,
  2006)     (order granting motion in limine).                               That court, however, did
  not provide any written analysis in support of its holding.
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 6 of 17 PageID# 6081



  predict how the state's highest court would resolve the issue when

  that court has not yet spoken on the issue.                                     See Liberty Mut.                 Ins.

  Co.    v.    Triangle          Industries,          Inc..      957   F.2d       1153,      1156       (4th      Cir.

  1992).           In predicting the decision of the                             state's highest court,

  this    Court          may     consider,          inter   alia,       decisions            of    lower          state

  courts,          canons        of     construction,            restatements           of    the        law,       and

  "recent pronouncements of general rules or policies by the state's

  highest court."                Idj.    For the reasons that follow, this Court holds

  that, pursuant to Virginia law, the collateral source rule does not

  apply to medical bills that have been discharged in bankruptcy and

  concludes that the Virginia Supreme Court would hold the same.

                                  ii.    The Collateral              Source Rule

          The collateral                source rule         is   a    "long-standing principle                       in

  Virginia          tort   law"        and provides         that      '"compensation or                 indemnity

  received          by     a     tort       victim     from       a    source          collateral            to    the

  tortfeasor may not be                     applied as       a credit against the quantum of

  damages          the    tortfeasor         owes.'"        Acuar      v.    Letourneau.               531    S.E.2d

  316,    320       (Va.       2000)     (quoting      Schickling           v.    Aspinall,            369    S.E.2d

  172,    174       (Va.       1988)).        "A person          who    is       negligent         and       injures

  another          owes    to     the       latter     full       compensation            for      the        injury

  inflicted,         and payment for such injury from a collateral source in

  no way relieves the wrongdoer of the obligation."                                          Id.       (quotation

  omitted).          In addition to "payments" and "indemnities," the Supreme

  Court       of    Virginia          has    also    characterized               the   rule       as    including
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 7 of 17 PageID# 6082



  "benefits" from a collateral source.                          See id,, at 322 ("Rather,                  [the

  focal point of        the        rule]    is     whether          a       tort   victim has       received

  benefits      from   a     collateral           source        .       .     .    .").     As     such,    the

  collateral      source       rule        applies       to     insurance            payments,       "social

  security       benefits,           public         and       private               pension        payments,

  unemployment and workers' compensation benefits, vacation and sick

  leave allowances,          and other payments made by employers to injured

  employees,     both       contractual            and    gratuitous."                    Schicklina.       369

  S.E.2d at 174.           The Supreme Court of Virginia has also held the

  rule    to   apply   to     medical        bills       that       a       plaintiff's          health    care

  providers wrote off.              Acuar.       531     S.E.2d at 323.

                                      iii.       Plain Meaning

          The plain meaning of               the    collateral               source       rule    favors   not

  applying the rule to debts discharged in bankruptcy.

          The very term "collateral source" implies the existence of a

  third party.     Cf. Choice. 57 Va. Cir. at 13 ("First, as the Supreme

  Court    [of Virginia]       has stated, the focal point of the rule is that

  the plaintiff received benefits,                       e.g.       compensation,            indemnity or

  write off, from a third party.") .                     "This rule historically has been

  applied in the situation where a third party,                                    such as an insurer,

  employer,    family member, etc., acts on the plaintiff's behalf.                                         In

  the bankruptcy situation, however, no third party as such benefits

  the plaintiff."          Id. ;   see also Oliver v. Heritage Mutual Insuranr.fi

 Company, 505 N.W.2d 452, 461                 (Wis. 1993)               (holding that, pursuant to
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 8 of 17 PageID# 6083



  Wisconsin law, the Wisconsin collateral source rule does not apply

  to   bankruptcy       discharges       because    there          is   no    third party       in       a

  bankruptcy       discharge).          On   the   contrary,            debts       discharged       in

  bankruptcy are unrecoverable by operation of law.                                See 11 U.S.C. §

  524(a) (2) .


        That the rule references              "payments"            and      "benefits"       further

  buttresses this point.              Cf. Walker. 57 Va. Cir. at 419 (noting that

  "the very term 'collateral source' implies a source of payment").

  Even the one Virginia Circuit Court to hold that the collateral

  source    rule    applies      to    bankruptcy       discharges            admitted    that       "a

  bankruptcy       is   not,   by definition,           a    'collateral           source,1    since

  there is no collateral payment."                 Dodd,          71 Va. Cir.       at 235.

                           iv.   Purpose and Public Policy

        The purpose of the collateral source rule and public policy

  also favor not applying the rule to debts discharged in bankruptcy.

        As the Supreme Court of Virginia has stated:

       The collateral source rule is designed to strike a
       balance between two competing principles of tort law:
       (1) a plaintiff is entitled to compensation sufficient to
       make him whole, but no more; and (2) a defendant is
       liable for all damages that proximately result from his
       wrong.       A plaintiff who receives a double recovery for a
       single tort enjoys a windfall; a defendant who escapes,
       in whole or in part, liability for his wrong enjoys a
       windfall. Because the law must sanction one windfall and
       deny the other, it favors the victim of the wrong rather
       than the wrongdoer.

 Schicklinq,       369 S.E.2d at 174;         see also Acuar,                531   S.E.2d at 322

  (noting   the    "fundamental purpose            of       the    rule"     is    "to prevent       a



                                              8
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 9 of 17 PageID# 6084



  tortfeasor from deriving any benefit from compensation or indemnity

  that     an   injured party has          received      from a   collateral     source").

  Normally, therefore, equity favors the innocent injured party over

  the     tortfeasor.


          This equitable balance,           however,      is upset in the bankruptcy

  context.       Where the collateral source rule has traditionally been

  applied-in the insurance and governmental benefits contexts,                           for

  instance-the collateral              source has previously agreed to provide

  compensation in the event of an injury.                  The collateral source rule

  therefore encourages people to obtain insurance.                       The rule also

  provides for governmental benefits to be fully appreciated because

  to do otherwise would be to punish those the government wished to

  help.     Cf. Wills v. Fosi-.fir. 892 N.E. 2d 1018,         1026-27, 1030-31       (111.

  2008)     (arguing     that    not    applying   the    collateral    source    rule   to

  Medicaid beneficiaries improperly discriminates against the poor

  and    disabled).       Thus,        important   public    policies    are   generally

  furthered when the collateral source rule is applied:                        insurance

  coverage      is   promoted      and    governmental      regulatory    regimes    like

  worker's compensation, Medicare, Medicaid, and Social Security are

  fully effectuated.            The thrust of the collateral source rule is to

  reward plaintiff's favored status prior to injury.                     Cf. Walker.     57

 Va.    Cir.    at 419   (arguing that,       under the collateral source rule,

 plaintiff's windfall results from "plaintiff's status at the time

 of the accident or treatment," and not "from an act of plaintiff
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 10 of 17 PageID# 6085



   taken after treatment was rendered");                                see also Restatement              (Second)

   of   Torts           §     920    cmt.     B    (1979)        ("If    the    plaintiff        was       himself

   responsible for the benefit,                       as by maintaining his own insurance or

   by making advantageous employment arrangements,                                      the law allows him

   to   keep       it       for himself.").


            Applying           the    collateral        source          rule    to    debts    discharged             in

   bankruptcy would not result in the same equitable balance.                                               First,

   applying             the     collateral          source        rule     to        debts    discharged              in

   bankruptcy may encourage bankruptcies.                                  E.g.,      Walker,     57 Va.         Cir.

   at   419       (arguing          that     applying       the    collateral          source    rule       in       the

   bankruptcy               context       "might     encourage          some    plaintiffs           to    declare

  bankruptcy so that payment intended for medical providers could be

   transferred to the plaintiff instead");                                 Choice,      57 Va.       Cir.       at    12

   (adopting the Walker court's reasoning).                                    Such a tendency would be

   "poor public policy."                     Id.;    see also Oliver,            505 N.W.2d at 462               ("It

  would       be    poor        public       policy    to     encourage         bankruptcies              for    this

  purpose.");                 Olariu v.       Marrero.      549     S.E.2d      121,    124     (Ga.      Ct.    App.

   2001)      ("The second reason for not extending the collateral                                          source

   rule is that to hold otherwise might encourage bankruptcy,                                             which is

  not   consistent with public policy.").


            Second,          allowing the collateral source rule to apply to an act

  by    a   plaintiff               taken    after    the    injury        leads       to    other     potential

  hazards.          After an injury occurs,                       the injured party may intend to

  bring       a    lawsuit           to     recover    for       his     injuries.            That     potential



                                                            10
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 11 of 17 PageID# 6086



   lawsuit may thus be in mind when the future plaintiff files                                          for

   bankruptcy protection.              Indeed, damages from potential lawsuits are

   considered assets to be listed in a bankruptcy schedule pursuant to

   11 U.S.C.      § 521(a)(1)(B)(1).                 See generally In re Alphin.                 1997 WL

   33344251       (Bankr.       D.S.C.        Nov.       3,     1997)     (acknowledging         that     a

   potential        lawsuit       is        an     asset        pursuant         to     11     U.S.C.     §

   521(a)(1)(B)(1)).            A plaintiff therefore has a strong incentive to

   "low-ball"        the    value      of     a    potential           lawsuit    on     a    bankruptcy

  petition to prevent his or her creditors from recovering from the

  damages      resulting from the potential                       lawsuit.6       When a plaintiff

  can   thus      take     affirmative          steps     after    the    injury to          ensure   that

  there will be double recovery if he or she succeeds in the lawsuit,

  equity     no    longer       favors      a     windfall        for    the   plaintiff        and     the

  collateral       source rule should not apply.

                                         v.       Dodd    v.    Lang


           This Court notes that the Virginia Circuit Court in Dodd v.

  Lang.,    71 Va.       Cir.   235    (Va.       Cir.    Ct.    2006),    came       to the opposite

  conclusion,        finding      that      the      collateral         source        rule   applies    to

  debts discharged in bankruptcy.                        The Court, however, believes that

  the Supreme Court of Virginia would agree with the holding in the

  instant case.          First, Dodd worries that not applying the collateral

  source rule to debts discharged in bankruptcy would be unfair when



        In some situations, as here,                          the personal injury lawsuit was
  currently pending in this Court                             before disposition of Payne's
  bankruptcy petition.


                                                     11
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 12 of 17 PageID# 6087



   the injury forced the injured party into bankruptcy.                                          See id.        That

   situation,          however,           does    not     appear     to        be    before       this       Court.

   Second,          and more importantly,               Dodd notes that a court may impose a

   constructive trust upon damages a plaintiff recovers for discharged

   medical bills to ensure the damages are forwarded to the medical

   providers.           See id.           Such a result would run counter to ensuring

   the    effectiveness           of       bankruptcy          proceedings            because          all     of    a

   debtor's          creditors        are        required      to    be        listed       in    the     set       of

   schedules pursuant to 11 U.S.C.                        § 521(a)(1)(B)(1).                     It is for the

   bankruptcy           court,     not        a    state       court,          to     determine          in     its

   proceedings          the     assets       and     liabilities           of       the     debtor       and    the

   settlement of the claims of the creditors.                                   If that resolution is

   to    be    adjusted or        questioned,            Congress        has        provided      an    adequate

   remedy in          11 U.S.C.       §    350(b),      which provides that                    the bankruptcy

  court may           reopen    the       case.     Cf.    Hawkins        v.    Landmark Finance               Co..

   727   F.2d 324,        326    (4th Cir.          1984)      (holding that              it   is within the

  discretion of the federal bankruptcy court to reopen a bankruptcy

  case) .


                                 vi.       Discharged Medical Bills

          Wyeth         Pharmaceuticals                 argues           that         all        of      Payne's

  pre-bankruptcy petition debts,                          whether listed in                the petition or

  not,        are    discharged.            "A    discharge         in    bankruptcy             relieves       the

  debtor of personal              liability for all pre-petition debts but those

  excepted under the Bankruptcy Code."                           In re Rosenfeld.                 23 F.3d 833,




                                                          12
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 13 of 17 PageID# 6088



   836    (4th Cir.        1994)     (citing    11     U.S.C.    §   727        (1993)).        "Section

   727(b)        provides    that    discharge         releases      a    debtor        from personal

   liability for allowed claims and debts xthat arose before the date

   of the [discharge]' unless that debt is specifically excepted from

   discharge under 11 U.S.C.              § 523."         Horizon Aviation of Virginia.

   Inc. V. Alexander,             296 B.R.   380,      382    (Bankr.      E.D. Va.       2003). Pre-

  petition debts that are not fraudulently incurred,                                   whether listed

   in the schedules or not,              are discharged pursuant to Section 727.

  QJL.    id.      (holding        the   same     for        Chapter       7     no-asset       cases) .

  Therefore,         the    Court    holds      that    all     of   Payne's           pre-bankruptcy

  amended petition medical bills,                    whether listed or not listed,                  are

  excluded from evidence to prove special damages.

            B-    ADMISSIBILITY TO PROVE PAIN AND SUFFERING DAMAGES

          Wyeth      Pharmaceuticals            further       argues           that     Payne    cannot

  introduce any of his medical bills                         to prove pain and suffering

  damages because           (1)   the medical bills are not relevant to pain and

  suffering pursuant to Federal Rule of Evidence 401 and (2) even if

  the medical bills are              relevant,         the bills         should nonetheless be

  excluded pursuant to Federal Rule of Evidence                                 403.     Def.'s Mem.

  Supp.     8.     Payne argued at the October 29,                       2008    hearing that the

  medical bills are relevant to prove pain and suffering because they

  could corroborate the testimony of Payne and his doctors,                                      should

  they testify at           trial.


          Federal Rule of Evidence 401 defines                       "relevant evidence"             as



                                                  13
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 14 of 17 PageID# 6089



   "evidence      having       any   tendency            to make     the   existence         of   any   fact

   that    is    of    consequence            to   the     determination        of    the    action     more

  probable or less probable than it would be without the evidence."

  All     relevant      evidence         is    admissible       unless      otherwise        prohibited;

   irrelevant evidence is                inadmissible.             Fed.    R.   Evid.    402.      Neither

   this Court nor the Fourth Circuit has ruled whether medical bills

   are relevant to prove pain and suffering;                              therefore,        the   issue    is

  one     of   first    impression before                the Court.


           The   Court       holds   that          the   medical     bills      are   not    relevant      to

  pain     and    suffering.         In        reaching       this    conclusion,           the   Court    is

  persuaded by the             analysis of Carlson v.                 Bubash,        639 A.2d 458,        462

   (Pa.    Super.      Ct.    1994) .7        As that court reasoned:

          It is immediately apparent that there is no logical or
          experiential correlation between the monetary value of
          medical services required to treat a given injury and the
          quantum of pain and suffering endured as a result of that
          injury.    First,  the mere dollar amount assigned to
          medical services masks the difference in severity between
          various types of injuries.   A very painful injury may be
          untreatable,  or, on the other hand, may require simpler
          and less costly treatment than a less painful one. The
          same disparity in treatment may exist between different
          but equally painful injuries.    Second, given identical
          injuries, the method or extent of treatment sought by the
          patient or prescribed by the physician may vary from
          patient to patient and from physician to physician.
          Third, even where injury and treatment are identical, the
          reasonable value of that treatment may vary considerably
          depending upon the medical facility and community in




          7While the Court notes that determining "relevance" pursuant
  to the Federal Rules of Evidence is a distinct legal analysis from
  determining "relevance" pursuant to Pennsylvania state law, the
  Court nevertheless finds the Carlson court's analysis instructive
  in determining             "relevance"           under    federal    law.

                                                         14
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 15 of 17 PageID# 6090



           which       care      is    provided                and    the       rates    of    physicians            and
           other       health          care          personnel             involved.            Finally,          even
           given identical injuries, treatment and cost, the                                                      fact
           remains  that  pain  is   subjective and  varies                                                       from
           individual            to    individual.


   Id.    Furthermore,            "a single figure representing the total amount of

   an    individual's medical bills                              does          not demonstrate            the     number            of

   times     the       person              received              treatment            or      the        nature       of        the

   treatment."            Barklev,              595 S.E.2d at 274-75                     (Kinser,         J.,    concurring

   in    part      and         dissenting                 in      part)           ("In      some         instances,             one

   noninvasive diagnostic                        test          can    cost      as much        as many visits                  to    a

  physical        therapist                or    chiropractor.").                        Therefore,            the    medical

  bills      have         no      tendency                to     establish            Payne's            claim       that           he

   experienced pain               and suffering as                         a   result       of the       accident.              The

  Court     accordingly               holds          that        the      medical        bills      are       inadmissible

  pursuant        to   Fed.       R.       Evid.      401       and       402.


           Even      if     the       Court          were        to       conclude       the    medical          bills          are

  relevant        and          admissible,                 the        medical         bills         are       nevertheless

   inadmissible           pursuant              to   Fed.        R.       Evid.      403.      "Although          relevant,

  evidence may be                excluded             if       its    probative          value      is     substantially

  outweighed           by   the        danger             of    unfair          prejudice,          confusion             of    the

  issues,       or     misleading                the       jury,          or    by    considerations                 of    undue

  delay,     waste          of     time,             or    needless              presentation             of    cumulative

  evidence."              Fed.        R.        Evid.          403.        Here,        there       is    a     substantial

  possibility of jury confusion if the medical bills were introduced

  to prove pain and suffering.                                  The jury may be tempted to treat the




                                                                     15
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 16 of 17 PageID# 6091



  medical     bills          as   recoverable            special      damages       rather    than   to       only

   assess    the    medical        bills       as    evidence         that    Payne    experienced pain

  and suffering.              The jury may also be confused by the medical bills'

   characterization of the treatment Payne allegedly underwent because


   the    treatment          is    described         in       the   bills     in     summary,    imprecise


  terms.8     These ill-defined terms, presented right beside their cost

   in dollar figures,              with little explanation to guide the jury,                             would


  unfairly prejudice Wyeth Pharmaceuticals.                                  To cure this prejudice,


  and thus to clarify the meaning of the terms                                 in the medical bills,


  Payne would likely have to call a witness                                 from each medical office


   from    which    a    bill      was     issued         to    testify      regarding,       among       other


  things,    the terms in the bill and whether a doctor or administrator


   labeled the procedures and treatments.                              Such a process could unduly

  delay     the    trial.          Furthermore,            introduction         of    the    medical      bills

  into evidence          would be         overly cumulative:                  whatever       tendency they


  would     have        to    prove      pain       and       suffering       may     already       be    amply


  demonstrated           by       other,       more       probative          evidence,       such        as   the


  testimony        of    Payne      and       his    doctors.          On     the    other    side       of    the

  scale,    the medical bills are of limited probative value for many of


  the     reasons       discussed        in    the       relevance      analysis,       supra.       For      all


  these reasons individually,                       and for all of them together,                the Court




          8 For but          one   example          of    Payne's medical            bills,     see,      e.g.,
  PL's      Mem.        Opp'n      Ex.     4    at       33     (labeling       various       expenses          as
   "THERAPEUTIC          EXERCISES,"            "ELECTRICAL            STIM/UNATTENDED,"             and       "PT
  EVALUATION,"          among      other       things,         with   no   further     explanation).


                                                           16
Case 2:08-cv-00119-RAJ-FBS Document 101 Filed 11/12/08 Page 17 of 17 PageID# 6092



  holds    that     Payne's    medical      bills       fail   Rule    403     analysis     and    are

   therefore inadmissible to prove pain and suffering.

                                      III.    CONCLUSION


          For the        foregoing reasons,         the   Court       (1)    holds   that    Payne's

   medical bills that were discharged in bankruptcy are inadmissible

   to prove the amounts charged because Virginia's collateral                                    source

   rule does not apply to medical bills discharged in bankruptcy;                                   (2)

   holds that Payne's unlisted pre-bankruptcy amended petition medical

   bills are inadmissible to prove the amounts charged;                              and   (3)    holds

   that   Payne's        medical    bills    are     inadmissible            to   prove     pain    and

   suffering        damages.       Wyeth    Pharmaceuticals'                motion   is    therefore

   GRANTED.


          IT   IS   SO   ORDERED.




                                                                                  MAGISTRATE      JUDGE


   Norfolk,     Virginia


   November V3> , 2008




                                                   17
